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                                   STATEMENT OF FACTS

        Your affiant, William T. Samad, is a Task Force Officer with the Federal Bureau of
Investigation (“FBI”), Louisville Division, Covington Resident Agency. I have been a duly sworn
law enforcement officer for over nineteen years. During this time, I have attended over 2,000 hours
of law enforcement training. I have had the opportunity to serve in a multitude of roles throughout
my career. I spent time in patrol, training, criminal investigations, SWAT, electronic crimes, and
mostly recently have been assigned as a full-time Task Force Officer with the Federal Bureau of
Investigation. I have investigated crimes ranging from minor offenses to murder. Since May of
2021, I have been assigned to the Joint Terrorism Task Force of the FBI as a Task Force Officer.
In my duties as a Task Force Officer, I have received training and gained experience in a variety
of criminal laws and procedures, primarily in complex and lengthy investigations into matters
involving various domestic terrorism related offenses. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Task Force Officer,
I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of violations of Federal criminal laws.

                 Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                          Facts Specific to Defendant Luke Hoffman

       Based on my review of still images and video footage from January 6, 2021, I have
observed that, on that date, an individual with short brown hair and a goatee, wearing a black
sweatshirt and coyote tan tactical vest, subsequently identified as LUKE HOFFMAN, was present
on and around the U.S. Capitol grounds, including on the West Plaza of the U.S. Capitol building.
HOFFMAN is circled in yellow in the images below.
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        HOFFMAN can be seen on video and in still images interfering with law enforcement
officers’ attempts to secure Capitol grounds and engaging in assaults of officers on and around the
Capitol grounds on January 6, 2021.

        A video captured at approximately 1:25 p.m. shows HOFFMAN yanking a piece of bike-
rack fencing away from a police officer as officers try to use it to manage the crowd.
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        At 2:28 p.m., multiple videos depict HOFFMAN grabbing and struggling with a police
officer over the officer’s baton.




         In another video, at 2:30 p.m., body worn camera footage from a police officer present at
the Capitol on January 6 shows HOFFMAN spraying a substance consistent with a chemical
irritant at multiple officers.
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       In both publicly available videos and in footage captured on Capitol CCTV cameras,
HOFFMAN can be seen outside the Lower West Tunnel entryway known as “the tunnel” for an
extended period of time, from at least 3:43 p.m. to 4:05 p.m.
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        While standing at the front of the tunnel, HOFFMAN came face to face with police officers
who were trying to secure the Capitol building. There, he physically supported other rioters who
stood on his shoulders while they attacked police officers inside the tunnel with objects including
a flagpole. HOFFMAN also used his hand, waved overhead, and encouraged the mob behind him
to move forward.




       On January 6, 2021, the Parler account @KariHoffman posted a photo showing an
individual matching HOFFMAN’s description outside the U.S. Capitol building on January 6,
2021, near the scaffolding erected for the inaugural stage on the West Plaza, with the caption “I
am so proud of my husband! He stood up for America today!! Were you part of today too?”




       Multiple individuals I have interviewed have positively identified HOFFMAN as the
subject in the Parler post. An FBI Special Agent assigned to the Covington Resident Agency
attended church with HOFFMAN for several years and positively identified HOFFMAN as the
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subject in the @KariHoffman post. A neighbor of HOFFMAN’s also positively identified
HOFFMAN based on the photograph in the @KariHoffman post.

        Based on the foregoing, your affiant submits there is probable cause to believe that LUKE
HOFFMAN violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

        Your affiant further submits there is probable cause to believe that HOFFMAN violated 18
U.S.C. §§ 111(a)(1) and (b), which makes it a crime to (a) forcibly assault, resist, oppose, impede,
intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as an officer or employee
of the United States while engaged in or on account of the performance of official duties; and (b)
use a deadly or dangerous weapon or inflict bodily injury during such assault.

        Your affiant also submits that there is probable cause to believe that HOFFMAN violated
18 U.S.C. §§ 1752(a)(1), (2) and (4), and (b)(1)(a), which make it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so; and (4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
grounds; or attempts or conspires to do so; and (b)(1)(A) to commit any of the aforementioned
offenses with a deadly or dangerous weapon or firearm; or to aid, abet, counsel, command, induce,
or procure the commission of such offenses. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that HOFFMAN violated 40
U.S.C. § 5104(e)(2)(D), and (F), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in
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that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.

                                                     _________________________________
                                                     William Samad
                                                     Task Force Officer
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 7th day of July 2023.
                                                                       Zia M. Faruqui
                                                                       2023.07.07
                                                                       14:56:26 -04'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE
